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                  EXHIBIT 1
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

THE BLACK & DECKER CORPORATION, Case No. 1:11-cv-05426
BLACK & DECKER INC. and BLACK &
DECKER (U.S.) INC.,              Judge Robert M. Dow, Jr.
                                 Magistrate-Judge Geraldine Soat Brown
                     Plaintiffs,

        v.

POSITEC USA INC. and RW DIRECT,
INC.

                                 Defendants.




                   Report of James T. Berger
       Re: The Black & Decker Corporation et al v. Positec USA Inc.

                             Report #1 – Likelihood of Confusion




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                    Report of James T. Berger
           Re: The Black & Decker Corporation et al v. Positec USA Inc.

                            Report #1 – Likelihood of Confusion

I.         Introduction

      1.      This report focuses on a scientific research study conducted to determine if a

              likelihood of Black & Decker Corporation’s De Walt trade dress and Positec

              USA Inc.’s Rockwell tradedress. The purpose of the study was to determine

              is such confusion exists by surveying a relevant universe of 200 individuals

              via an Internet survey. This report includes the research hypothesis, research

              design, official survey protocols and results of the survey.

II.        Personal Background

      2.      Present Activities. I am currently a faculty member at Roosevelt University. I

              am also Principal of James T. Berger/Market Strategies, a strategic marketing

              communications and consulting firm. At Roosevelt University’s Walter E.

              Heller College of Business Administration, I currently teach courses in

              Advertising, Consumer Behavior, Personal Selling and Sales Management,

              Global Marketing, Marketing Management, and Marketing in Theory and

              Practice. I have previously taught graduate and undergraduate marketing

              related courses at DePaul University and Loyola University, and

              Northwestern University’s Kellogg Graduate School of Management. In

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            addition, I have taught undergraduate courses at Northwestern University’s

            School of Continuing Studies, The University of Illinois at Chicago, and The

            Lake Forest Graduate School of Management. In November 2011, Oxford

            University Press published a book that I co-authored with R. Mark Halligan of

            the law firm of Nixon Peabody entitled Trademark Surveys: A Litigator’s

            Guide. In addition I have authored many articles dealing with marketing and

            other business related issues. A copy of my curriculum vitae, summary of my

            teaching experience, publications list, billing rate and testimony experience,

            are attached to this report as EXHIBIT A.

    3.      Education. I received a Master’s Degree in Business Administration in 1978

            from the University of Chicago Graduate School of Business, with

            concentrations in marketing and finance. I also received a Master of Science

            Degree in Journalism from Northwestern University’s Medill School of

            Journalism in 1965, with concentrations in the news and editorial sequence,

            and a Bachelor of Arts Degree with a major in journalism from the University

            of Michigan in 1964.

    4.      Prior Experience. I have previously worked as an Account Supervisor for two

            Downtown Chicago advertising agencies, as Vice President and Director of

            Public Relations for another Chicago advertising agency, and as Account

            Supervisor for two major Chicago public relations agencies. I have had my

            own marketing communications consulting practice for more than 20 years,

            and have been involved in marketing consulting and survey work for law firms

            for nearly 10 years.



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    5.      Market Research/Trademark Experience. I have extensive market research

            experience, including quantitative and qualitative survey research, and have

            performed both in-person, telephone, and Internet-based interviewing in

            various industries with respect to brands and trademarks. I have also

            designed and coordinated market research programs, including drafting

            questionnaires, performing and supervising personal interviews, organizing

            focus groups, tabulating and evaluating data, and preparing research reports.

            I have delivered continuing legal education programs entitled “Intellectual

            Property Surveys: Best Practices” twice before the Chicago Bar Association,

            twice before the Milwaukee Bar Association, before the St. Louis Bar

            Association, and before the Texas Bar Association. In addition, I was a

            presenter at a session in March 2003, before the Minnesota State Bar

            Association entitled “The Effective Use of Survey Experts and Evidence in

            Trademark Cases.” Furthermore, I have authored 14 articles on intellectual

            property and trademark/secondary meaning surveys for INTELLECTUAL

            PROPERTY TODAY Magazine: (1) “10 Frequently Asked Questions About

            Intellectual Property Surveys,” which appeared in the August 2003 issue; (2)

            “Swimming in Shark-Infested Waters,” which appeared in the June 2004

            issue; (3) “Creativity Key to Executing Toughest IP Survey Projects,” which

            appeared in the July 2005 issue; (4) “What IP Attorneys Should Know About

            Expectations and Costs for Survey Research,” which appeared in the April

            2006 issue; (5) “10 Easy Ways to Blow Away A Survey,” which appeared in

            the January 2007 issue; (6) “The Power and Perils of Internet Surveys,” which



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            appeared in the August 2007 issue; (7) “How to Do an IP Survey Without

            Giving Away the Store,” which appeared in the April 2008 issue; (8) “New

            Challenges to the IP Survey Process,” which appeared in the July 2009 issue;

            (9) “Introducing the Internet/Telephone ‘Hybrid’ Survey,” which appeared in

            the July 2010 issue; (10) “When NOT To Do An Intellectual Property Survey,”

            which appeared in the November 2010 issue; (11) “A New Survey Protocol for

            Proving/Disproving Design Patent Infringement,” which appeared in the April

            2011 issue; (12) “How to Apply Theory of Probability to Decision of Whether

            to Do an I.P. Survey,” which appeared in the February 2011 issue; (13) “The

            Descriptive/Suggestive Conundrum in Trademark Surveys,” which appeared

            in the November 2011 issue; and (14) “The Pre-Litigation Pilot Trademark

            Survey,” which appeared in the March 2012 issue. I also do extensive

            freelance writing for magazines and other publications on a variety of

            business-related topics including marketing, marketing communications and

            trademarks. Early in my career, I worked as Account Executive and later

            Account Supervisor at The Public Relations Board, Inc. Chicago. In this

            capacity, I developed a number of surveys and was responsible for compiling

            the MUSIC U.S.A., an annual compilation of statistical data of the music

            industry and music participation in the United States.

    6.      Trademark Testifying Experience. I have testified as an expert in strategic

            marketing, marketing communications and intellectual property surveys with

            respect to brands and trademarks. Over the last 10 years, I was retained as

            an expert in more than 60 lawsuits. In many of those lawsuits, the issue was



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              some form of trademark or trade dress infringement, and/or whether a

              trademark had achieved secondary meaning. In addition, I have been

              retained as an expert in cases involving efforts to prove or disprove whether

              names were generic, descriptive, or suggestive. In many of those lawsuits, I

              have given deposition and/or trial testimony.

III.        Retention

       7.     I was retained in this matter by Niro, Haller and Niro on behalf of the plaintiff. I

              am not related to any owner, employee, or affiliate of Black & Decker Corp.

              I do not have any financial interest in this case other than my hourly fees. My

              compensation is not contingent upon the outcome of the case.

IV.         Hypothesis and Rationale

       8.     This double-blind survey, which was given over the Internet, was designed to

              test whether there exists a likelihood of confusion between De Walt’s

              distinctive yellow and black trade dress and Rockwell brand products that

              make use of similar yellow and black trade dress. The scientific survey seeks

              to test if the defendant’s trade dress is likely to cause confusion or mistake or

              deception with the use of the trade dress by De Walt. A relevant sample was

              created by questioning people who were either professional tradespeople or

              “serious Do-It-Yourselfers,” defined as owning $1,000 or more worth of power

              tools.

V.          Research Design

       9.     The survey was given to 200 individuals over 18 years of age. The survey

              questionnaire can be found in EXHIBIT B. There was no gender or


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              geographic quotas or restrictions. Once screened and qualified, the

              respondent was shown a photograph of two shelves in a retail store. All the

              products depicted in the photo were De Walt products except one, which was

              a Rockwell product. The photo was taken at an actual retail store.

      10.     Prospective survey respondents were randomly selected by e-Rewards®,

              Inc., a leading Internet research organization. Based in Plano, TX, e-

              Rewards, according to its Website, “is the global leader in permission-based

              digital data collection and reporting, headquartered in Plano, Texas. With

              over 1,200 employees worldwide, the company operates through its business

              units Research Now, e-Miles, Peanut Labs, Conversition Strategies and

              iPinion, LLC.” To qualify the prospective respondent had to fulfill the following

              qualifications:

              o Had to be age 18 or over.

              o Had to be a professional tradesman or serious Do-It-Yourselfer, which we

                 defined as owned more than $1,000 worth of power tools.

              o Could not have anyone in their household who works for an advertising

                 agency, market research firm or any business involved in the sale of

                 power tools.

              o Was wearing eyeglasses, if needed, to view the computer screen.

VI.         The Interview Process

      11.     The survey asked one question:

              Today, we are conducting a survey focusing on power tools. Here is a

              display of packaged products as you might see them at a Home Depot of



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            Lowe’s store. Do you believe the products are put out by the same

            company? If the respondent answered YES, he/she was asked WHY?

VII.      Survey Results

    12.     The tabulations can be found in EXHIBIT C. following is a summary of the

            survey results.

            95 (or 47%) respondents said they believed all the product pictured were put

            out by the same company.

VII.      Verbatim Answers

    13.     The report also includes coded verbatim answers from respondents who

            believed they were not put out by the same company.

VIII.     Validation

    14.     In scientific surveys such as this one, to ensure that people who said they

            participated in the survey actually participated, an independent research

            company is often retained to validate the survey. The validation process

            includes taking a representative sample of those who completed the survey,

            re-contacting them, and verifying their participation. In this survey, Suburban

            Market Research, Inc., of Wayne, N.J., used a file of 74 participants in the

            study. They made at least two attempts to contact each participant who

            provided her name and phone number. In all, they were able to reach 42

            participants. Some 90.5% of those reached validated their participation in the

            survey, according to the validation report (attached as EXHIBIT D). The one

            person who did not validate correctly was removed prior to tabulating results.




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              Cindy Conklin, Manager of Suburban Market Research, wrote that “We are

              satisfied that the research was conducted as instructed.”

IX.         Conclusions and Opinions

      15.     The results of this survey clearly indicate confusion between the trade dress

              for De Walt and Rockwell. In my opinion, Rockwell’s use of a trade dress

              similar to that of De Walt is causing a likelihood of confusion in the power tool

              marketplace.




              November 14, 2012




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                            CERTIFICATE OF SERVICE

The undersigned hereby certifies that on November 26, 2013 the foregoing REPORT OF
JAMES T. BERGER, LIKELIHOOD OF CONFUSION was served upon the below-listed counsel
of record by electronic transmission:

J. Aron Carnahan                          Henry S. Alford
HUSCH BLACKWELL LLP                       Scot A. Duvall
120 S. Riverside Plaza, 22nd Fl.          Robert J. Theuerkauf
Chicago, IL 60606                         MIDDLETON REUTLINGER
aron.carnahan@huschblackwell.com          401 S. Fourth Street
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                                          rtheuerkauf@middreut.com



       /s/ Oliver D. Yang
Attorneys for Plaintiffs
NIRO, HALLER & NIRO




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                                                             EXHIBIT A
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                                           CURRICULUM VITAE

                                         James T. Berger
                  IP Litigation Services & Surveys: Trademarks/Brands/Marketing;
                   Marketing Consultant; Free-Lance Writer; University Instructor

                               1604 Chicago Avenue - Suite 4, Evanston, IL 60201
                                         847-328-9633 Fax 847-328-9638
                          E-mail: jberger@jamesberger.net WEB: www.jamesberger.net

EDUCATION
MBA University of Chicago, Graduate School of Business, concentrations in marketing and
    finance.

MS       Northwestern University, Medill School of Journalism, concentration in news/editorial
         sequence.

BA       University of Michigan, College of Literature, Science and the Arts, major in journalism.

PROFESSIONAL EXPERIENCE
MARKET STRATEGIES, Chicago. Northbrook and Evanston, IL (1983 to present) Principal of
this marketing services/consulting firm, which specializes in:
        - Strategic marketing planning including creating written market plan documents.
        - Implementing marketing programs.
        - Integrated marketing communications services including advertising, public relations,
          sales promotion, direct mail.
        - Project management including building and directing creative and production teams to
          execute marketing plans and specific tasks.
        - Helping clients develop and maintain business relationships.
As a "hands-on" consultant, I help clients develop strategies and programs as well as assist in the
implementation. The firm concentrates on business-to-business marketing with specific focus on
financial services, accounting and consulting services, commercial real estate, eldercare, office
technology, manufacturing and distribution. Concurrent with the management of Market
Strategies, I became involved with:

         THE INVESTOR RELATIONS COMPANY, Northbrook, IL (June 1998 to July 1999)
         As Senior Vice President, I was involved in the full array of Investor Relations activities
         including account management; working with the financial press including magazines,
         newsletter and wire services; direct contacts with analysts and brokers; and writing of
         financial news releases, quarterly and annual reports, profiles and fact sheets.

         THE FINANCIAL RELATIONS BOARD, INC., Chicago, IL (April 1997 to June 1998)
         As an Account Manager for this large, national investor relations firm, I:
                - Coordinated account service, market intelligence and media activities.
                - Created investment profiles and fact sheets; developed and wrote annual reports,
                  quarterly earnings releases and other news releases.


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STERN WALTERS/EARLE LUDGIN, Inc., Chicago, IL (1980-83) Vice President -- Account
Supervisor:
       - Account manager for Associates Commercial Corporation account, a commercial
         finance company with advertising billings in excess of $7 million.
       - Account manager for Sears, Roebuck & Co. Contract Sales Group division.
       - Developed marketing strategies, planning and account management.

THE WITTLEDER COMPANY, Inc., Chicago, IL (1976-80) Vice President -- Account
Supervisor:
       - Created and implemented marketing strategies and programs.
       - Clients involved in office products and services, data systems, micrographics,
         commercial real estate, automotive aftermarket and financial services.

BRAND ADVERTISING, Inc., Chicago, IL (1973-76) Vice President -- Director of Public
Relations:
       - Responsible for firm's public relations profit center.
       - Programming, planning, client and media contact, writing and editing.
       - Active in new business development.
       - Clients involved in automotive aftermarket, industrial equipment, agriculture.

GOLIN/HARRIS COMMUNICATIONS, Inc., Chicago, IL (1971-73) Account Supervisor for
this large public relations agency:
         - Worked on McDonald's restaurants, agency's major account.
         - Created national model awareness program for Chicagoland market.
         - Managed McDonald's involvement in public affairs, ecology, energy conservation,
            labor relations and the inner city.
         - Involved in financial relations and marketing-support activities.

EARLY EXPERIENCE
Began career as copy, wire and make-up editor for CHICAGO DAILY NEWS. Moved into
corporate public relations as editor of an employee publication for ILLINOIS BELL
TELEPHONE COMPANY in Chicago and Springfield, IL. As a publicity specialist for
MORTON INTERNATIONAL INC., I became involved in the consumer, industrial,
institutional, automotive and agricultural markets. My first experience in agency public relations
was with THE PUBLIC RELATIONS BOARD, INC., (now known as PORTER NOVELLI),
first as an account executive and later as an account supervisor.

PROFESSIONAL MEDIA EXPERIENCE
- Copy Editor for Chicago Daily News, Chicago, IL
- Editor and General Assignment Reporter for The Patriot Ledger, Quincy, MA
- Correspondent for United Press International in Ann Arbor, MI
- Part-time general assignment reporter for Pioneer Press newspapers, Wilmette and Highland
  Park, IL
- Free-lance columnist for Homelife section of Chicago Sun Times



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BOOKS PUBLISHED
Trademark Surveys: A Litigator’s Guide by James T. Berger and R. Mark Haliigan (of Nixon
Peabody), published by Oxford University Press, 2011.

ARTICLES PUBLISHED
Intellectual property litigation-related articles:
        — “10 Frequently Asked Questions about Intellectual Property Litigation Surveys”
             published in the August 2003 issue of Intellectual Property Today.
        — “Swimming in Shark-Infested Waters,” published in June 2004 issue of Intellectual
             Property Today.
        — “Creativity Key to Executing Toughest IP Survey Projects,” published in July 2005
              issue of Intellectual Property Today.
        — “What IP Attorneys Should Know About Expectations and Costs For Survey
             Research,” published in April 2006 issue of Intellectual Property Today.
        — “10 Easy Ways to Blow Away a Survey,” published in the January 2007 issue of
              Intellectual Property Today.
        — “The Power and Perils of the Internet Surveys,” published in August 2007 issue of
              Intellectual Property Today.
        — “How to do an IP Survey without Giving Away the Store,” published in April 2008
            issue of Intellectual Property Today.
        — “New Challenges to the IP Survey Process,” published in July 2009 issue of
            Intellectual Property Today.
        — “Introducing the Internet/Telephone ‘Hybrid’ Survey,” published in the July, 2010
             issue of Intellectual Property Today.
        — “How to Apply Theory of Probability to Decision of Whether to Do an I.P. Survey,”
            published in the February, 2011 issue of Intellectual Property Today.
        — “A New Survey Protocol for Proving/Disproving Design Patent Infringement” by
            James T. Berger and Tracy Zawaski, published in the April, 2011 issue of Intellectual
            Property Today.
        — “The Descriptive/Suggestive Conundrum in Trademark Surveys,” published in the
            November, 2011 issue of Intellectual Property Today.

Marketing communications-related articles published in:
      - Crain's Chicago Business, a weekly business publication.
      - Services Marketing Today, published by the American Marketing Association.
      - Talking To The Boss, a weekly business publication.
      - University of Chicago Graduate School of Business alumni magazine.
      - Your Business, a quarterly magazine published for GE Capital by Baumer Financial
        Publishing, Chicago.
      - Independent Business, a monthly magazine published by Group IV Communications,
        Thousand Oaks, CA.

Business-related articles in published in:
       - Active Times                                      - Office Dealer
       - Business Life                                     - Office System

James T. Berger   CURRICULUM VITAE           3                                           3/12/2012
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       - Chicago Sun-Times                           - Business Sense
       - Dow Jones Business Employment               - Real Estate Chicago
         Weekly                                      - American Fitness
       - Texas Realtor                               - Area Development
       - Multifamily Executive                       - Real Estate Chicago
       - Office and Industrial Properties            - Grid
       - Real Estate Profiles                        - Plants, Sites & Parks
       - Kiwanis Magazine                            - Journal of Property Management
       - The Rotarian                                - Commercial Investment Real Estate
- Executive Decision                                 - Crain’s Chicago Business
- Home Business Journal                              - Tax Credit Advisor

TEACHING EXPERIENCE
DE PAUL UNIVERSITY
College of Commerce -- Graduate Level
       - Marketing Research -- An overview of marketing research and its role in decision-
         making with the organization.
       - Marketing Strategy -- A case-oriented course focusing on decision-making.
       - Industrial Marketing -- A course utilizing cases and text that concentrates on industrial
         and business-to-business marketing.
College of Commerce -- Undergraduate Level
       - Principles of Marketing -- A basic, survey course that introduces all the College of
         Commerce students to marketing.
       - Marketing Management -- A second-tier course that uses cases to illustrate basic
         marketing principles.
       - Introduction to Advertising -- A course for marketing majors that introduces students to
         basic advertising.
       - Industrial Marketing -- A course for marketing majors focusing on industrial and
         business-to-business marketing.
       - Personal Selling -- A course for marketing majors that concentrates on consultative
         selling.

LOYOLA UNIVERSITY
Graduate School of Business
         -International Marketing — This course focuses on how foreign companies market in the
         United States and how domestic companies market abroad.

ROOSEVELT UNIVERSITY
Walter E. Heller College of Business Administration
Received WEHCBA Outstanding Adjunct Award, 2010.
Nominated for ADJUNCT FACULTY PERSON OF THE YEAR AWARD in 2005/06.
       - Marketing in Theory and Practice -- A graduate level course that covers basic principles
         of marketing and market research.
       - Selling and Sales Management -- An undergraduate course focusing on consultative
         selling and the management of the sale force.
       - Consumer Behavior -- An undergraduate course that explored the how’s and why’s of


James T. Berger   CURRICULUM VITAE           4                                             3/12/2012
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           consumer purchasing.
         - Introduction to Advertising -- An undergraduate course focusing on advertising, sales
           promotion and integrated marketing communications.
         - Retail Marketing Management. An undergraduate course focusing on retail marketing
           theories and practices.
         - International Marketing Analysis – Taught at both the graduate and undergraduate
           levels, this course that probes how foreign companies market in the United States and
            how domestic companies market abroad.

NORTHWESTERN UNIVERSITY
Kellogg Graduate School of Management
       - Business Marketing -- A graduate level course focusing on industrial and business-to-
         business marketing principles and cases.
School of Continuing Studies
       - Principles of Marketing -- An introductory survey course that covers basic principles
         including market research.
       - Strategic Marketing: Cases in Decision-Making -- A more advanced, case-method
         course.
       - Business-to-Business Marketing -- A course that explores the differences between
         consumer marketing and business marketing.
       - Introduction to Public Relations -- An introductory course that focuses on the various
         facets of public relations and publicity.
       - Integrated Marketing Communications -- A course that I created that focuses on the
         synergies of coordinating all the promotional blend elements.

UNIVERSITY OF ILLINOIS AT CHICAGO
College of Business Administration
       - Advertising and Sales Promotion -- An undergraduate course that introduces students to
         the basic principles of advertising.
       - New Product Management -- An undergraduate course focusing on the new product
         development and marketing process.


LAKE FOREST GRADUATE SCHOOL OF MANAGEMENT
     - Marketing Management -- An executive graduate-level course that uses cases and a
       major team project to introduce students to the principles of marketing and marketing
       management.

CONTINUING LEGAL EDUCATION SEMINAR
     - Presented “Intellectual Property Litigation Surveys … Best Practices” before the
       Chicago, Milwaukee, St. Louis, Texas and Indiana Bar Associations. The
       program has been approved for continuing legal education credits.

MINNESOTA STATE BAR ASSOCIATION
Continuing Legal Education
       - Faculty member for “The Effective Use of Survey Experts and Evidence in Trademark


James T. Berger   CURRICULUM VITAE           5                                            3/12/2012
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          Cases.” Minneapolis State Bar Association, Minneapolis, MN, March 7, 2002.

MEMBER – INTERNATIONAL TRADEMARK ASSOCIATION

LITIGATION EXPERIENCE

I have testified in court in the following cases: (side who retained me in BOLD)

Euromarket Designs, Inc., dba Crate & Barrel Limited v. Miriam Peters and Point Blank
Multimedia, testified in U.S. District Court, Chicago, August 3, 2000.

Heartland Corporation v. Don Siphers et al., testified at U.S. District Court, Topeka, KS, on
June 25, 2002.

St. Luke’s Eye Center v. James Sanderson et al, testified at trial at U.S. District Court in
Tampa, FL, on June 7, 2007

Scafiddi Motors v. General Motors Corporation, testified before State of Wisconsin Division
of Hearings and Appeals, Madison, WI, on April 4, 2008.

University of Kansas et al v. Larry Sinks et al, testified at trial at U.S. District Count in Topeka,
KS, on July 8, 2008.

Vande Hey Brantmeier, Chevrolet, Buick, Pontiac, Inc. v. General Motors Corporation,
testified before State of Wisconsin Division of Hearings and Appeals, Jan. 23, 2009.

Just Enterprises, Inc. v. (888) Justice, Inc. on June 17, 2008.

Mini Melts, Inc. v. Reckitt Benckiser, Inc. (jury trial) on June 24, 2009.

Mini Melts, Inc. v. Reckitt Benckiser, Inc. (bench trial) on June 25, 2009.

Fair Isaac Corporation et al v. Experian, et al, on November 6, 2009.

John A. Dore et al v. Sweports, Ltd., et al, October 24, 2011. (A brand valuation case).

I have been deposed in the following cases: (side who retained me in BOLD)

Allan J. DeMars, as Trustee for Weisser Eyecare, Inc., v. NBD Highland Park, October 12,
1996.

Black & Decker (U.S.) Inc., Black & Decker Inc., and The Black & Decker Corporation v.
Pro-Tech Power Inc., P&F Brother Industrial Corporation and Nu-Way Machinery Corporation,
February 5, 1998 And March 5, 1998.

Atlas Electric Devices Co. v. Q-Panel Lab Products Corporation, April 26, 2001.



James T. Berger   CURRICULUM VITAE            6                                                3/12/2012
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Motor Werks Partners, L.P. v. BMW of North America, June 11, 2001.

Sparks & Crain v. AT&T and Lucent Technologies, February 18, 2002.

Native American Arts v. Earth Dweller, Ltd., and The Waldron Corporation, April 5, 2002.

Master Tech Products, Inc., v. Prism Enterprises, Inc., September 11, 2002. (A trade secrets
case.)

Mansfield Plumbing Products L.L.C. v. Mariner Partners, Inc., et al., March 4, 2003.

Horizon Health Services, Inc. v. Allied National, Inc. et al, October 25, 2004.

S&M Nutec, L L.C. v. T.F.H. Publications, Inc., January 16, 2005.

Century 21 Real Estate v. Century Surety Co., March 1, 2005.

Midwest Canvas Corp. v. Nationwide Tarps, Inc., March 17, 2005.

Seed Lighting Design Co. LTD v. Home Depot, Trend Lighting, Corp and Hampton Bay
Fan & Lighting Company, July 14, 2005.

Dioptics Medical Products, Inc. v. PR Trading Company D/B/A/ Polar Ray Sunglasses
Corporation, August 13, 2005.

True & Dorin Medical Group v. Leavitt Medical Associates, et al, September 10, 2005

Edina Realty v. TheMLSonline.com, Inc., Oct.. 7, 2005.

Kevin Trudeau et al v. George Lanoue et al, November 21, 2005
Dioptics v. PR Trading Company, Feb. 17, 2006.

Wenger Corporation v. The Stadium Chair Company, LLC, June 22, 2006

Cobra Capital v. LaSalle Bank Corporation et al, July 26, 2006

Illinois Tool Works v. Chester Brothers Machined Products, Inc. d/b/a Pneu-Fast, Aug. 15,
2006

Note Family, Inc. v. Vivendi Universal Games, Inc., October 4, 2006

St. Luke’s Eye Center v. James Sanderson et al, March 15, 2007

University of Kansas et al v. Larry Sinks et al, May 29, 2007.

St. Luke’s Eye Center v. James Sanderson et al, testified at trial at U.S. District Court in
Tampa, FL, on June 7, 2007

Just Enterprises, Inc. v. (888) Justice, Inc. on January 11, 2008.



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Schneider Saddlery Co., Inc. v. Best Shot Products International LLC on February 6, 2008.

Scafiddi Motors v. General Motors Corporation on March 3, 2008. (Testimony related to
Buyer Behavior.)

Larin Corporation v. Alltrade, Inc. on March 26, 2008

Mini Melts, Inc. v. Adams Respiratory Operations, Inc. d/b/a Adams Respiratory
Therapeutics on March 13, 2008.

Dallas Cowboys Football Club and NFL Properties, LLC v. America’s Team Properties, Inc.
on April 30, 2008

Mini Melts, Inc. v. Adams Respiratory Operations, Inc. d/b/a Adams Respiratory
Therapeutics on November 13, 2008.

Fair Isaac Corporation et al v. Equifax Inc. et al on December 17, 2008.

Vande Hey Brantmeier, Chevrolet, Buick, Pontiac, Inc. v. General Motors Corporation, on
Jannuary 12, 2009.

WMH Tool Group, Inc. v Woodstock International, Inc., and Grizzly Industrial, Inc, on
June 30, 2009.

Atlanta Allergy & Asthma Clinic, P.A. v. Allergy & Asthma of Atlanta, LLC et al, on July 6,
2009.

North Shore Gastroenterology v. North Ohio Gastroenterology on October 15, 2009.

Metso Minerals Industries, Inc. v. FLSmith-Exc el et al, March 26, 2010. (A trade secrets case)

Evert Fresh Corportaiton v. Pactiv Corporation, September 10, 2010. (A brand valuation case).

Mark Rice d/b/a Games to Remember v. Brand Imports, L.L.C. et al, September 21, 2010.

Innovation Ventures, LLC v. N2G Distributing, Inc. and Alpha Perfomance Labs, September
24, 2010.

John A. Dore et al v. Sweports, Ltd., et al, January 31, 2011. (A brand valuation case).

Lovely Skin, Inc. v. Ishtar Skin Care Products, LLC, October 27, 2011.

Native American Arts, Inc. v. Bud K Worldwide, Inc. Deposition, December 14, 2011.

Native American Arts, Inc. v. Peter Stone Co., U.S.A., February 3, 2012.

Native American Arts, Inc. v. Mangalick Enterprises, Inc . d/b/a/ IAC International, Feb 3,
2012.

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Native American Arts, Inc. v. Atlanta Cutlery Corporation, Inc., , March 1, 2012.


BILLING RATE (FOR EXPERT WITNESS SERVICES)
$450 per hour ($500 for time spend in testimony)

SUPPLEMENT A

A Compilation of Published Articles
Written by James T. Berger

  DATE            PUBLICATION                          ARTICLE TITLE
  1998
                                                       Wanted: Mature Workers Who Need Minimal Training, Many
  Fall            Active Times                         Positions Available
Sept-Oct          National Bus Employment Weekly       What's an M.B.A. worth?
                  National Bus Employment
Sept-Oct          Weekly                               The Degree Dilemma
November          Chgo Sun Times Business Life         Buying Into Barter
December          Crain's Chicago Business             A Crucial Goal: Increasing Schools' Visibility
 Jan-Dec          Writer's Digest

  1999
 January          Business Life                        Business is Booming in Executive Temp Industry
                                                       Gary Canepa / Patty Ancona / Patraick Fortin / Richard
  38744           Real Estate Profiles                 Blevins / Nancy Mroz
   April          Business Life                        Medical Industry Goes Under the Knife
  38823           Wall Street Journal                  Will Earning An MBA Pay off Later in Life?
  Spring          Business Sense                       Networking 101
   June           Business Life                        Building Solid Financial Foundations
   June           Your Business                        Blueprint for Success
   June           Small Business Adviser               Building Earnings by Barbara B. Buchholz
   June           Chgo Sun Times Business Life         Tips Could Help You Sell Your Home by Yourself
July - Aug        American Fitness                     X-Termination
   July           Business Life                        Building Solid Foundations
 Summer           Your Business                        Expanding Your Horizons
 August           Business Life                        Factoring Takes New Meaning in Today's Global Economy
September         Chgo Sun Times Business Life         Push to Revive Reverse Mortgage
September         Business Life                        Opportunities Abound for Older Workers
September         Kiwanis                              Working Into Retirement
September         Independent Business                 10 Easy Ways to Lose a Client
                                                       Wet and Wild on the West Coast by J. Fisher Park & J.
   Fall           Recreation Management                Morgan Park
September         Active Times                         Reversal of Fortune for Reverse Mortgages
September         Chgo Sun Times Homelife              Mortgage Plan Helps Buyers with Bad Credit
September         Chgo Sun Times Homelife              Mortgage Lenders Won't Suffer Despite Market Changes
November          Business Life                        Are Stockbrokers and Endangered Species?
November          Home Business                        Turning Hobbies Into Profitable Home-Based Businesses
November          Chgo Sun Times Homelife              Prepayment Penalty Offers a Trade-Off for Homeowners
 17-Dec           Chgo Sun Times Homelife              No Doc Loans Help Self-Employed
  1999            Commercial Lending Report            Entire Year



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  2000
  7-Jan           Chgo Sun Times Homelife      Blacks Still Face 'Predatory Lending' Schemes: study
 12-Jan           Chgo Sun Times Homelife      Home Ownership Rising in Nation, While Equity is Falling
 14-Jan           Chgo Sun Times Homelife      New Laws Might Boost Reverse Mortgage's Appeal
 16-Jan           Chgo Sun Times Homelife      Banking On Your Home
 21-Jan           Chgo Sun Times Homelife      Not All Mortgages Require Buyer to Make a Down Payment
 22-Jan           Active Times                 Do Banks Protect Your Privacy
 28-Jan           Chgo Sun Times Homelife      Legal Foundation Guards Against Mortgage Scams
January           Business Life                WWII Fighting For Bandwidth
January           Recreation Management        Welcome To The Great Outdoors
January           Commercial Lending Report    All Loans Are "Good" When You Make Them
 Winter           Business Sense               Grievance Alert
 11-Feb           Chgo Sun Times Homelife      Your Portfolio Can Provide Mortgage Down Payment
 18-Feb           Chgo Sun Times Homelife      Worried Buyer Can Try An Interest-Rate Option
 25-Feb           Chgo Sun Times Homelife      Go For Brokers
 Feb-29           Chgo Sun Times Business      Leap Day has It's Benefits
February          Business Life                WWII Fighting For Bandwidth
  3-Mar           Chgo Sun Times Homelife      Rising Interest Rates Take Toll on Buyers Mortgages
 17-Mar           Chgo Sun Times Homelife      Home Saver Helps Avert Foreclosure
 24-Mar           Chgo Sun Times Homelife      Closing On A Home Often Troublesome
 31-Mar           Chgo Sun Times Homelife      Web Portal Can Speed Loan Process
 March            Recreation Management        If You Build It, They Will Swim
 March            Business Life                Consumers Not Ready to Leave Mall Behind
   May            Texas Realtor                What’s Up With Mortgages?
10 - Oct          Chgo Sun Times Homelife      Fed holds key to stable mortgage rates: experts
29 - Oct          Chgo Sun Times Homelife      Landscaping is a cheap and easy fix

 29 - Oct         Chgo Sun Times Homelife      Home offices, pools not worth it

  3 - Nov         Chgo Sun Times Homelife      As closing nears, lender wants money for a "hold back"
 17 - Nov         Chgo Sun Times Homelife      Fannie Mae helps lending victims

 24 - Nov         Chgo Sun Times Homelife      'Tis the season to be wary when seeking a mortgage
  1 - Dec         Chgo Sun Times Homelife      Chicago mortgage bank reaches out to immigrants, minorities
  3 - Dec         Chgo Sun Times Homelife      Land contract may fail without canceled checks

   2001
January 12        Chgo Sun Times Homelife      Showcase of Homes Offers Vision of Future
  19-Jan          Chgo Sun Times Homelife      Failure To Compute
 January          Multifamily Executive        Generation Y Hits the Market
 January          Multifamily Executive        Peace of Mind - Renter's Insurance Can Protect Property
                                               Tailor Made - New Type of Mortgage is Uniquely Designed for
 16-Feb           Chgo Sun Times Homelife      Individual Borrowers
February          Bizlife                      Grass America Inc: What the Well-Dressed Kitchen is Wearing
 March            Real Estate Chicago          Kenosha Casino Nixed
 March            Utah Business                Whittling Down the Tax Man
                                               Homeowner insurance not enough to cover a home office or
  6-Apr           Chgo Sun Times Homelife      business; Protecting the Boss
  Spring          Bizhealth                    Family Service of the Piedmont
   April          Rotarian                     Boot Up Soldier!
   May            Real Estate Chicago          A Soft Office Market
   June           Real Estate Chicago          Lake County Land Squeeze
September         Area Development             Industrial Market
 October          Real Estate Chicago          Update at the Glen
 Nov-Dec          Commercial Real Estate       Virtual Money



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    Nov-Dec          Real Estate Chicago               Abbott Leases Big

    2002
   February          Area Development                  Property Protection Comes of Age
    March            Texas Realtor                     On Loan
    March            Area Development Magazine         On the Fast Track to Freer Trade?
    March            Real Estate Chicago               City Park in Home Stretch
     April           Real Estate Chicago               Recovery Ahead?
                                                       Trusts a Must for the Moneyed;
     April           Crain’s Chicago Business          Variety of Plans Offer Tax Beaks, Other Incentives
     May             Real Estate Chicago               The Mallinckrodt Property
     June            Area Development                  Welcoming Recovery
     July            Area Development                  Assessing the Post-War Economy
     July            PS&P                              Site Selection Shake Up
   July-Aug          Journal of Property Management    Flower Power (Interior Landscape)
  September          PS&P                              Avoiding Economic Espionage
   October           Bizlife                           The Man Behind the High Point Transportation

     2003
   2003/2004         PS&P
    August           Wiglaf Journal                    Getting Lost on the World Wide Web
                                                       10 Frequently Asked Questions about Intellectual Property
    August           Intellectual Property Today       Litigation Surveys

    2004
    May              Plants Sites & Parks              Milwaukee on the Grow
    June             Intellectual Property Today       Swimming In Shark-Infested Waters
     July            Plants Sites & Parks              Electronics Industry on the Fast Track
  September          Wiring Harness News               Using Customer Service as a Competitive Edge
                                                       U.S. Economic Recovery Spurs Industrial Park Growth in
   November          Plants Sites & Parks              Mexico
   November          Intellectual Property Today       Getting the Most Value Out of Your Survey Expert

     2005
                                                       On The Job with “The Apprentice”
January/February     Executive Decision                Why Chicago is Bill Rancic’s Kind of Town
                                                       The Decline and Fall of the AT&T empire — Marketing Myopia
    March            The Wiglaf Journal                Revisited
     April           The Wiglaf Journal                10 Easy Ways to Lose a Customer
     May             Executive Decision                Secrets of the Best Rainmakers
     June            The Wiglaf Journal                Converting Productivity to Profitability
     July            Intellectual Property Today       Creativity Key to Executing Toughest IP Survey Projects
    August           The Wiglaf Journal                What’s In a Name?

     2006
    January          The Wiglaf Journal                Thoughts on Relationship Marketing
                                                       A Matter of Survival:
January/February     Executive Decision                CEOs need to commit to Lifelong Learning
    February         The Wiglaf Journal                Peeling the Customer Loyalty Onion
     March           The Wiglaf Journal                Creating “Monopolies” from Customer Value Propositions
   March/April       Executive Decision                The Rich Get Richer
                                                       What IP Attorneys Should Know Expect & Costs for Survey
     April           Intellectual Property Today       Research
                                                       All The Right Moves
   May/June          Executive Decision                Strategies and Tactics for Corporate Relocations
  July/ August       Executive Decision                A New Life for ABLs. Strong Economy and Lots of Available


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                                                     Cash Fuel Asset-Based Lending Boom
                                                     Integrated Marketing Environment Putting New Pressure on
   September          The Wiglaf Journal             Sales Management,
September/October     Executive Decision             All Banks are not created Equal
    December          Tax Credit Advisor             Sponsors “Brand” Housing Credit Properties

      2007
     January          Intellectual Property Today    10 Easy Ways to Blow Away A Survey
                      WebsiteRevamp.org              Lost on The Web
                                                     Multifamily Realtors See Benefits
     January          WebsiteRevamp.org              of Branding in Driving Internet Sales
                                                     Bridgeport Historic Rehabilitation Project Helping to Transform
     January          Tax Credit Advisor             Downtown
                                                     Cover Story:
January/February      MultiFamily Pro                AMLI’S Secret Formula – All the Ingredients for Sophistication
                                                     Spotlights:
                      MultiFamily Pro                Executive – No. 1 Cheerleader – Mutz Has Spirit and Vision
                                                     Management – Taking Full Advantage – Technology Provides
                      MultiFamily Pro                a Competitive Edge
                      MultiFamily Pro                Marketing – Brand Loyalty – AMLI Markets Through its Brand
                                                     Training – Pursuit of Excellence – Training Helps AMLI Reach
                      MultiFamily Pro                Goals
                      MultiFamily Pro                On Site – Know the Facts – AMLI Serves through Information

    February          The Wiglaf Journal             The “iPhone” Brouhaha
                                                     Different Actions, Tactics can Foster Quicker, Effective Lease-
     March            Tax Credit Advisor             Up of New Tax-Credit Properties
     March            The Wiglaf Journal             Don’t Segment Markets — “Hire” the Product
   March/April        Executive Decision             The Challenge Of Building A Global Workplace Community
                                                     Cover Story:
                                                     Place Properties Is The Place – Welcome to the World of
   March/April        MultiFamily Pro                Student-Friendly College Housing
                                                     Spotlights:
                                                     Executive – Nightmare Interupus – Phillips Filled a Student
                      MultiFamily Pro                Housing Need
                                                     Management – An Engaged Audience – Ratchford Attracts
                      MultiFamily Pro                Generation Y with Technology
                                                     Marketing – Hitting the Target – Nix and Dunton Market to
                      MultiFamily Pro                Distinct Groups
                                                     Training – Gaining an Edge – Wolff Directs the Management
                      MultiFamily Pro                Team
                                                     On-Site – Two-Sided Approach – Place Focuses Both On and
                      MultiFamily Pro                Off Campus
                                                     Reducing Tenant “Churn” Essential for Successful Tax Credit
      April           Tax Credit Advisor             Properties
                                                     Industry Participants Suggest Ways to Trim Construction
      May             Tax Credit Advisor             Operating Costs
                                                     A New Way to Segment B-T-B Markets — Put Your
      May             The Wiglaf Journal             Product to Work
    May/June          Executive Decision             Adding Green To The Bottom Line
                                                     The Difficulty of Developing Profitable and Unique Sales
      June            The Wiglaf Journal             Promotions
                                                     Market Studies Remain Key for Determining Feasibility of
      June            Tax Credit Advisor             Proposed LIHTC Projects
      July            The Wiglaf Journal             The Perils of Using the Internet for Surveys
                                                     Is the Private Life for You?
   July/August        Executive Decision             More Private Companies Are Opting To Go Private
     August           The Wiglaf Journal             How to Make Your E-Mail Marketing More Effective




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                                                 Affordable Rental Housing Development Is Becoming
  August          Tax Credit Advisor             Increasingly “Green”
  August          Intellectual Property Today    The Power and Perils of Internet Surveys
                                                 Oregon Family Development Incorporates Variety of ‘Green’
 August           Tax Credit Advisor             Features
September         The Wiglaf Journal             HR Help for the Entrepreneur
 October          The Wiglaf Journal             Ease Up on Sales Button for New Ventures
                                                 Robust Population, Job Growth Favor Development Phoenix
 October          Tax Credit Advisor             Area, But Condo Overhand, New Production Are Issues
                                                 Baltimore Area Marked by High Demand for Additional
November          Tax Credit Advisor             Affordable Housing
                                                 Pittsburgh Market Has Strong Demand for Affordable Housing
December          Tax Credit Advisor             Despite Sluggish Economy
December          The Wiglaf Journal             To Brand …or NOT to Brand New Products
  2008
                                                 Milwaukee’s Economy on the Grow; Strong Demand for
 January          Tax Credit Advisor             Affordable Housing
 January          The Wiglaf Journal             Marketing Lessons from Hollywood
 January          The Wiglaf Journal             “Top 100 Brands” Quiz

                                                 Vibrant Seattle Economy Spurs Demand for Affordable
 February         Tax Credit Advisor             Housing
                                                 In Whom do we Trust? The Movement for Greater
March/April       Executive Decision             Accountability and Disclosure
  March           The Wiglaf Journal             Looking Positively at the “R” Word
  March           The Wiglaf Journal             Adding Bite to your E-Mails
  April           Tax Credit Advisor             Cleveland’s Perfect Storm of Rising Foreclosures
  April           Intellectual Property Today    How to do an IP Survey without Giving Away the Store
  April           The Wiglaf Journal             B-2-B Trademarks and Brands – A Slippery Slope
  April           The Wiglaf Journal             Want to Know Who Sarah Marshall Is?
                                                 Atlanta Economy Slowing But Still Growing; Tax Credit
   May            Tax Credit Advisor             Housing Challenged
   June           The Wiglaf Journal             A New Business Primer for Growing Organizations
                                                 Milwaukee’s Economy on the Grow; Strong Demand for
   July           Tax Credit Advisor             Affordable Housing
 August           Tax Credit Advisor             New Desire Housing Project Rises from Devastation of Katrina
September         The Wiglaf Journal             What’s a Brand Worth Anyhow?
September         Tax Credit Advisor             Chicago Has Vibrant Affordable Housing Market
November          The Wiglaf Journal             Starbucks Discovers Marketing Myopia
                                                 Portland Economy, Multifamily Housing Easing into “Soft
December          Tax Credit Advisor             Landing”
December          The Wiglaf Journal             Musing from a Marketer on the Economic Crisis
  2009
                                                 Empathy — The Missing Element in Relationship
 January          The Wiglaf Journal             Management

                                                 MarketSketch: Houston Area Still Attractive Market for LIHTC
 February         Tax Credit Advisor             Development
  March           The Wiglaf Journal             The “Dark Side” of Entrepreneurship
   April          The Wiglaf Journal             Recession Takes Toll on Brand Values
                  The Wiglaf Journal             Opportunities Starting to Sprout as Entrepreneurs Pick Up
   April                                         Pieces from Shattered Economy
                  The Wiglaf Journal             Two Harvard Experts Provide Perspective on Building
   May                                           Entrepreneurial Businesses in Troubled Times
                                                 Everything You Wanted to Know About Multi-Family Energy
   July           Tax Credit Advisor             Audits
   July           The Wiglaf Journal             New Paradigms Abound



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June/July         Area Development               Military Bases as Economic Development Magnets
 August           The Wiglaf Journal             Trying to Put the Toothpaste Back into the Tube
September         The Wiglaf Journal             Global Marketers Unclear About Obama’s Direction

 October          The Wiglaf Journal             Marketers Find Gold on Old Brand Junk Heap
December          The Wiglaf Journal            Looking for a New Advertising Agency? It’s a Buyer’s Market
         2010                                             Be Careful
 January          The Wiglaf Journal            Nurturing Relationships More Important Than Ever
February          The Wiglaf Journal            IPad Has All the Ingredients of a Classic Marketing Blunder
March             The Wiglaf Journal            Professional Musings from the World of Marketing
June              The Wiglaf Journal            Toyota – Crisis Management at its Worst
                                                The Bible of Marketing Mistakes and Successes
June-July         Area Development              Obama Promotes Export Policy to Rally Economy
July              Intellectual Property Today   Introducing the Internet/Telephone “Hybrid” Survey
July              The Wiglaf Journal            Lessons from a Legend
August            The Wiglaf Journal            The Undefeated, Undisputed King of Smartphones
September         The Wiglaf Journal            The Revolution in Knowledge Delivery Systems
October           The Wiglaf Journal            The Most Important Sales Call You Will Ever Make
November          The Wiglaf Journal            The Rewards of Trying To Be Different
December          The Wiglaf Journal            Story of the 2000-2010 Decade Told by Brand Values
        2011
January           The Wiglaf Journal            Post-Recession Era Poses Different Kinds of Challenges for
                                                Marketers
February          Intellectual Property Today   How to Apply Theory of Probability to Decision of
                                                Whether to Do an I.P. Survey
February          The Wiglaf Journal            Borders and Blockbuster: Throwing Money Down a Rat Hole
March             The Wiglaf Journal            H-P and Walmart – The Peril of Expectations
April             The Wiglaf Journal            Entrepreneurial Musings
May               The Wiglaf Journal            Are You Ready for Milkshake Marketing
June              The Wiglaf Journal            What Have You Done for me Lately
July              Area Development              Free Trade Agreements Stymied by Political Roadblocks
July              The Wiglaf Journal            The GROUPON Phenomenon – Is it Sustainable?
August            The Wiglaf Journal            Eastman Kodak – Another Corporate Icon Fights to Survive\
September         The Wiglaf Journal            The Hidden Marketing Asset
October           The Wiglaf Journal            Killing the Golden Goose (Netflix)
November          Area Development              New Trade Agreements Slowly Becoming a Reality
November          Intellectual Property Today   The Descriptive/Suggestive Conundrum in Trademark Surveys
November          The Wiglaf Journal            Killing the Golden Goose Part 2 (Netflix)
December          The Wiglaf Journal            The Merits of Underdog Positioning
      2012
January           The Wiglaf Journal            Twitter — Show Me the Money
February          The Wiglaf Journal            Corporate Icons Falling Like House of Cards
February          The Wiglaf Journal            The Resurrection of the Golden Goose
March             The Wiglaf Journal            Revenues Gained by Service Fees Undermines
                                                Relationship Marketing Goals
March             Intellectual Property Today   The Pre-Litigation Pilot Trademark Survey




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                                                             EXHIBIT B
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                            TRADESMEN CONFUSION



  Intro - Intro
  Before we start the interview, please answer the next few questions to see if you qualify.

  s1 - Age
  Are you age 18 or over?
   Yes (1)
   No (2)

         Screened ‒ thank
  STOP




         Thank you, those are all the questions we have for you, today.



         QuotaFull ‒
  STOP




  s2 - Gender
  Indicate your gender:
   Male (1)
   Female (2)
  s3 - State
  State in which you reside.
   Alabama (1)
   Alaska (2)
   Arizona (3)
   Arkansas (4)
   California (5)
   Colorado (6)
   Connecticut (7)
   District of Columbia (8)
   Delaware (9)
   Florida (10)
   Georgia (11)
   Hawaii (12)
   Idaho (13)
   Illinois (14)
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   Indiana (15)
   Iowa (16)
   Kansas (17)
   Kentucky (18)
   Louisiana (19)
   Maine (20)
   Maryland (21)
   Massachusetts (22)
   Michigan (23)
   Minnesota (24)
   Mississippi (25)
   Missouri (26)
   Montana (27)
   Nebraska (28)
   Nevada (29)
   New Hampshire (30)
   New Jersey (31)
   New Mexico (32)
   New York (33)
   North Carolina (34)
   North Dakota (35)
   Ohio (36)
   Oklahoma (37)
   Oregon (38)
   Pennsylvania (39)
   Rhode Island (40)
   South Carolina (41)
   South Dakota (42)
   Tennessee (43)
   Texas (44)
   Utah (45)
   Vermont (46)
   Virginia (47)
   Washington (48)
   West Virginia (49)
   Wisconsin (50)
   Wyoming (51)
  s4 - Pro
  Are you currently a professional workman who uses power tools?


   Yes (1)
   No (2)
  s5 - DIYer
  Are you a serious DO-IT-YOURSELFER who owns more than $1,000 worth of power tools?


   Yes (1)
   No (2)
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  STOP   Screened ‒ thank

         Thank you, those are all the questions we have for you, today.



  s6 - Security
  Do you or anyone in your household work for a:
   Advertising agency (1)
   Market Research firm (2)
   Any business involved in the sale of power tools
  (3)
   None of the above
  (4)


         Screened ‒ thank
  STOP




         Thank you, those are all the questions we have for you, today.



  s7 - Glasses
  Do you require eyeglasses or any other device needed to view a computer     screen?
   Yes (1)
   No (2)
  i30
  Please make sure you are wearing them.

  Q1 - Put out by


  Today, we are conducting a survey focusing on power tools. Here is a display of packaged products as you
  might see them at a Home Depot or Lowe s store:
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  Do you believe that the products pictured are put out by the same company?

  Yes (1)
   No
  (2)
   Don t Know
  (3)

  q1a - Why
  Why?




  i22



  THANK YOU VERY MUCH- THIS CONCLUDES OUR INTERVIEW.

  For validation purposes only, we would appreciate if you could provide your name and phone number.
  (Optional)




  name - Name
  Name



  phone - Phone



  Phone



  Use this format: XXX XXX XXXX
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                                                             EXHIBIT C
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Total


Page 1.......S1. AGE: Are you age 18 or over?

Page 2.......S2. GENDER: Indicate your gender:

Page 3.......s3. STATE: State in which you reside.

Page 5.......S4. Are you currently a professional workman who uses power tools?

Page 6.......S5. Are you a serious DO-IT-YOURSELFER who owns more than $1,000 worth of power tools?

Page 7.......S4/S5. Pro or Do-it-Yourselfer

Page 8.......S6. Security: Do you or anyone in your household work for a:

Page 9.......S7. Do you require eyeglasses or any other device needed to view a computer screen?
             If yes, Be sure you are wearing them.

Page 10......Q1. Do you believe that the products pictured are put out by the same company?

Page 11......Q1A. Why? - Responded Yes, think the products pictured are put out by the same company (Q1)

Page 13......Q1A. Why? - Responded No, do not think the products pictured are put out by the same company (Q1)

Page 14......Q1A. Why? - Responded Don't Know, don't know if products pictured are put out by the same company (Q1)
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                                                                               Page 1




                             S1. AGE: Are you age 18 or over?




                                                            Total
                                                           -------

                       Total                                     204
                                                                100%

                       Yes                                       204
                                                                100%

                       No                                         -
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                                                                               Page 2




                              S2. GENDER: Indicate your gender:




                                                             Total
                                                            -------

                       Total                                       204
                                                                  100%

                       Male                                       175
                                                                  86%

                       Female                                      29
                                                                  14%
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                                                                               Page 3




                         s3. STATE: State in which you reside.




                                                          Total
                                                         -------

                       Total                                 204
                                                            100%

                       Alabama                                    1
                                                                 *%

                       Alaska                                     3
                                                                 1%

                       Arizona                                    5
                                                                 2%

                       Arkansas                                   2
                                                                 1%

                       California                                15
                                                                 7%

                       Colorado                                   4
                                                                 2%

                       Florida                                   11
                                                                 5%

                       Georgia                                    6
                                                                 3%

                       Hawaii                                     2
                                                                 1%

                       Illinois                                  15
                                                                 7%

                       Indiana                                    9
                                                                 4%

                       Iowa                                       5
                                                                 2%

                       Kansas                                     2
                                                                 1%

                       Maine                                      1
                                                                 *%

                       Massachusetts                              6
                                                                 3%

                       Michigan                                   9
                                                                 4%

                       Minnesota                                 12
                                                                 6%

                       Missouri                                   3
                                                                 1%

                       Nebraska                                   1
                                                                 *%

                       Nevada                                     2
                                                                 1%
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                                                                                Page 4
                                                                              (Continued)



                         s3. STATE: State in which you reside.




                                                          Total
                                                         -------

                       New Hampshire                              1
                                                                 *%

                       New Jersey                                 5
                                                                 2%

                       New Mexico                                 1
                                                                 *%

                       New York                                  16
                                                                 8%

                       North Carolina                             1
                                                                 *%

                       North Dakota                               2
                                                                 1%

                       Ohio                                      17
                                                                 8%

                       Oregon                                     5
                                                                 2%

                       Pennsylvania                              13
                                                                 6%

                       South Carolina                             1
                                                                 *%

                       South Dakota                               1
                                                                 *%

                       Tennessee                                  1
                                                                 *%

                       Texas                                      3
                                                                 1%

                       Utah                                       5
                                                                 2%

                       Virginia                                   1
                                                                 *%

                       Washington                                 8
                                                                 4%

                       Wyoming                                    9
                                                                 4%
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                                                                                  Page 5




             S4. Are you currently a professional workman who uses power tools?




                                                             Total
                                                            -------

                        Total                                   204
                                                               100%

                        No response                               -


                        Yes                                     178
                                                                87%

                        No                                       26
                                                                13%
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                                                                                             Page 6




    S5. Are you a serious DO-IT-YOURSELFER who owns more than $1,000 worth of power tools?




                                                              Total
                                                             -------

                         Total                                   204
                                                                100%

                         No response                               -


                         Yes                                     162
                                                                 79%

                         No                                       42
                                                                 21%
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                                                                               Page 7




                               S4/S5. Pro or Do-it-Yourselfer




                                                             Total
                                                            -------

                       Total                                     204
                                                                100%

                       No response                                -


                       Yes                                       204
                                                                100%

                       No                                         -
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                                                                               Page 8




               S6. Security: Do you or anyone in your household work for a:




                                                            Total
                                                           -------

                                                               204
                                                              100%

                       No response                               -


                       Advertising agency                        -


                       Market Research firm                      -


                       Any business involved in the sale         -
                       of power tools

                       None of the above                       204
                                                              100%
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      S7. Do you require eyeglasses or any other device needed to view a computer screen?
                             If yes, Be sure you are wearing them.




                                                              Total
                                                             -------

                         Total                                   204
                                                                100%

                         No response                               -


                         Yes                                     109
                                                                 53%

                         No                                       95
                                                                 47%
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                                                                                         Page 10




        Q1. Do you believe that the products pictured are put out by the same company?




                                                              Total
                                                             -------

                         Total                                   204
                                                                100%

                         Yes                                      95
                                                                 47%

                         NO                                       95
                                                                 47%

                         Don't know                               14
                                                                  7%
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                                                                                             Page 11




   Q1A. Why? - Responded Yes, think the products pictured are put out by the same company (Q1)




                                                               Total
                                                              -------

                          Total                                    95
                                                                 100%

                          Same name/Name on box-package            30
                                                                  32%

                          Says DeWalt                              13
                                                                  14%

                          Same Package                             12
                                                                  13%

                          All DeWalt                                7
                                                                   7%

                          Similar look/Same look                    3
                                                                   3%

                          Color                                     3
                                                                   3%

                          Same color packaging and most say         2
                          DeWalt                                   2%

                          Color of package and labeling             2
                                                                   2%

                          Black & Decker                            1
                                                                   1%

                          Orange rack                               1
                                                                   1%

                          Open                                      1
                                                                   1%

                          Several say DeWalt but the color          1
                          leads me to believe that product         1%
                          isn't DeWalt, might be

                          Same product                              1
                                                                   1%

                          Assume DeWalt tools from same             1
                          company                                  1%

                          Same color and name on package            1
                                                                   1%

                          Heard they were the same                  1
                                                                   1%

                          Comparisons of each product range         1
                                                                   1%

                          Same yellow package with black            1
                          lettering, also say DeWalt               1%

                          Orange                                    1
                                                                   1%
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                                                                                             Page 12
                                                                                           (Continued)



   Q1A. Why? - Responded Yes, think the products pictured are put out by the same company (Q1)




                                                                Total
                                                               -------

                          They would want to get their              1
                          product out there and in a               1%
                          particular way

                          All have similar color of                 1
                          packaging distinctive to DeWalt          1%

                          DeWalt Makes DeWalt                       1
                                                                   1%

                          Say DeWalt and believe Rockwell is        1
                          subsidiary of DeWalt                     1%

                          Because                                   1
                                                                   1%

                          DeWalt is subsidiary of Black and         1
                          Decker                                   1%

                          Same color and name                       1
                                                                   1%

                          Seen and use DeWalt                       1
                                                                   1%

                          One company owns the other                1
                                                                   1%

                          Same logo, Packaging and name             1
                                                                   1%

                          Would be false advertising                1
                                                                   1%

                          DeWalt is company that makes many         1
                          tools                                    1%
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                                                                                             Page 13




Q1A. Why? - Responded No, do not think the products pictured are put out by the same company (Q1)




                                                                Total
                                                               -------

                          Total                                    95
                                                                 100%

                          Different names or brand names           36
                                                                  38%

                          Most are DeWalt but one says             14
                          Rockwell                                15%

                          Rockwell & DeWalt                        13
                                                                  14%

                          One is made by another company            8
                                                                   8%

                          One says Rockwell                         5
                                                                   5%

                          One not DeWalt                            3
                                                                   3%

                          Different lettering                       2
                                                                   2%

                          There was one that had a different        2
                          name                                     2%

                          Rockwell                                  2
                                                                   2%

                          They are different                        1
                                                                   1%

                          Boxes and pictures made at box            1
                          company for DeWalt                       1%

                          Don't remember seeing them at             1
                          Lowes                                    1%

                          Boxes same, Name different                1
                                                                   1%

                          Color not right, logo not right           1
                                                                   1%

                          Usually stocked by merchandiser           1
                                                                   1%

                          One of packages different. The            1
                          tool is in color while the DeWalt        1%
                          brand is yellow and black

                          Rockwell same color as DeWalt             1
                                                                   1%

                          They have reps                            1
                                                                   1%

                          Don't Know                                1
                                                                   1%
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                                                                                                Page 14




Q1A. Why? - Responded Don't Know, don't know if products pictured are put out by the same company (Q1)




                                                                   Total
                                                                  -------

                             Total                                    14
                                                                    100%

                             Rockwell & DeWalt                         1
                                                                      7%

                             Different names or brand names            1
                                                                      7%

                             They are different                        1
                                                                      7%

                             Because                                   1
                                                                      7%

                             Boxes same, Name different                1
                                                                      7%

                             What company makes tools and where        1
                             is it built                              7%

                             Don't deal with DeWalt                    1
                                                                      7%

                             No Lowes anywhere near me                 1
                                                                      7%

                             Everything made in China, one             1
                             never knows                              7%

                             All same color but don't see              1
                             DeWalt on them                           7%

                             I think company would have to OK          1
                             artwork                                  7%

                             Don't Know                                3
                                                                     21%
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                                                             EXHIBIT D
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1440 Willowbrook Mall
Wayne, New Jersey 07470
(973) 785-0770

                                                                    November 7, 2012
 Mr. James Berger
1604 Chicago Avenue
 Evanston, IL 60201


Dear Jim,

This is to affirm that Suburban Marketing Research has validated your recent research
conducted over the internet, with respondents about power tools.

We have received a file of 74 participants on the Tradesmen Confusion 2 study. We made at least two
attempts to reach each number.
Among those we reached, we asked everyone if they had recently participated in an
internet survey on power tools.

We verified that the respondents were 18 years old or older.

We validated their qualification as either a professional workman or a Do-It-Yourselfer who owns power
tools totaling $1000 or more.

Also that they did not work for a Marketing Research Company, Advertising Agency or any business
involved in the sale of power tools.

We reached 42 households out of the total sample of 74 respondents. The disposition of
the households we reached is as follows:
 38 validated correctly
  1 Invalid (Mario #786 380-5826) did not do survey on power tools
  3 no such person by that name

All others were dialed at least two times without being able to reach anyone.

We are satisfied that the research was conducted as instructed.


Cindy Conklin
